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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors. 1                         (Joint Administration Requested)

                                                                      Related Docket No. 319

NOTICE OF WITHDRAWAL OF DOCKET NO. 319 - CERTIFICATION OF COUNSEL
 REGARDING DEBTORS’ PROPOSED SCHEDULING ORDER WITH RESPECT TO
CONTINUED HEARING ON THE MOTION OF THE DEBTORS FOR INTERIM AND
  FINAL ORDERS (I) AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION
     FINANCING AND (B) TO UTILIZE CASH COLLATERAL, (II) GRANTING
     ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES, (III)
  MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING A FINAL HEARING,
                   AND (V) GRANTING RELATED RELIEF

         PLEASE TAKE NOTICE that Amyris, Inc., et al. (the “Debtors”), in the above-captioned

Chapter 11 case, hereby withdraws docket no. 319 - Certification of Counsel Regarding Debtors’

Proposed Scheduling Order With Respect to Continued Hearing on the Motion of the Debtors For

Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to

Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)




1   A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.


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Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief.


.Date: September 19, 2023                  PACHULSKI STANG ZIEHL & JONES LLP


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                                           Proposed Counsel to the Debtors and
                                           Debtors-in-Possession




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